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10                                   UNITED STATES DISTRICT COURT

11                                 EASTERN DISTRICT OF CALIFORNIA

12
                                                          )       Case No.: 2:23-cv-02681-CKD
13    KENDREA SMITH,                                      )
                                                          )
14                                                        )       STIPULATION FOR VOLUNTARY
                                                          )       REMAND PURSUANT TO SENTENCE
15                    Plaintiff,                          )       FOUR OF 42 U.S.C. § 405(g)
                                                          )
16        v.                                              )
     MARTIN O’MALLEY,                                     )
17                                                        )
     Commissioner of Social Security                      )
18                                                        )
                      Defendant.                          )
19                                                        )
                                                          )
20
21
             IT IS HEREBY STIPULATED, by and between the parties, through their undersigned
22
     attorneys, and with the approval of the Court, that the Commissioner of Social Security has
23
     agreed to a voluntary remand of this case pursuant to sentence four of 42 U.S.C. § 405(g). The
24
     purpose of the remand is to offer Plaintiff a new decision. The parties agree that no specific
25
     aspect of the Commissioner’s final decision is affirmed.
26
             On remand, the Commissioner will offer Plaintiff the opportunity for a hearing;
27
     reconsider the pertinent issues, including, but not limited to, reconsidering the medical opinions
28
     and prior administrative medical findings; develop the record as necessary; and issue a new


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 1   decision. The parties further request that the Clerk of the Court be directed to enter a final
 2   judgment in favor of Plaintiff, and against Defendant, reversing the final decision of the
 3   Commissioner.
 4
 5
 6
                                                          Respectfully submitted,
 7
 8   DATE: June 20, 2024                                  /s/ Jonathan O. Pena *
                                                          JONATHAN O. PENA
 9
                                                          Attorney for Plaintiff
10                                                        (* approved via email on 6/19/24)

11                                                        PHILLIP A. TALBERT
12                                                        United States Attorney

13   DATE: June 20, 2024                          By      s/ Marcelo Illarmo
                                                          MARCELO ILLARMO
14                                                        Special Assistant United States Attorney
15
                                                          Attorneys for Defendant
16
17                                                        ORDER
18           Based upon the parties’ Stipulation to Voluntary Remand Pursuant to Sentence Four of
19   42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation to Remand”), and for cause shown, IT
20   IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-captioned action is
21   remanded to the Commissioner of Social Security for further proceedings consistent with the
22   terms of the Stipulation to Remand.
23
24   Dated: June 21, 2024
                                                             _____________________________________
25                                                           CAROLYN K. DELANEY
                                                             UNITED STATES MAGISTRATE JUDGE
26
27
28


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